             Case 3:24-cv-00430-IM             Document 6   Filed 04/22/24      Page 1 of 2




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Of Attorneys for Plaintiff



                                UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

VAN LOO FIDUCIARY SERVICES LLC, an                          Case No. 3:24-cv-00430-IM
Oregon Limited Liability Corporation, as
personal representative of the estate of,
IMMANUEAL JAQUEZ CLARK, deceased,                           JOINT RULE 26(f) CONFERENCE
                                                            REPORT AND LR 16 PROPOSED
                                  Plaintiff,                DISCOVERY PLAN

        vs.

CITY OF PORTLAND, a municipal
corporation, and CHRISTOPHER
SATHOFF,

                                  Defendants.


        Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26-1, the parties certify that on April 11,

2024, they held an initial conference of counsel for discovery planning.

        1.         Initial Disclosures. The parties did not agree to waive initial disclosures. Initial

disclosures are due by May 10, 2024.

        2.         Discovery Plan. The parties stipulate and agree to the following discovery and pre-

trial deadlines:

     File all pleadings pursuant to Fed. R. Civ. P. 7(a) and 15             January 17, 2025
     Join all claims, remedies, and parties pursuant to Fed. R. Civ.        January 17, 2025
     P. 18 & 19
JOINT RULE 26(f) CONFERENCE REPORT AND LR 16 PROPOSED                   LEVI MERRITHEW HORST PC
DISCOVERY PLAN - 1                                                      610 SW ALDER ST. SUITE 415
(Case No. 3:23-cv-01801-AN)                                                 PORTLAND, OR 97205
                                                                      T: 971.229.1241 | F: 971.544.7092
            Case 3:24-cv-00430-IM      Document 6       Filed 04/22/24      Page 2 of 2




    Complete all fact discovery                                         February 7, 2025
    Expert Disclosure and Reports                                       March 7, 2025
    Rebuttal Expert Disclosures                                         April 11, 2025
    Complete Expert Discovery                                           May 16, 2025
    Dispositive Motions                                                 July 3, 2025
    Submit joint ADR report                                             90 days after the
                                                                        ruling on any
                                                                        dispositive motions


       3.      The parties do not foresee any major discovery issues that will require the court’s

attention. There are no significant ESI issues that the parties foresee. The parties have agreed on

and will submit a proposed stipulated protective order to protect certain confidential information.

       DATED this 22nd day of April, 2024.

       By:    /s Jesse Merrithew                     By:    /s Carey Caldwell
       Jesse Merrithew, OSB No. 074564               Carey Caldwell, OSB No. 093032
       Of Attorneys for Plaintiff                    Of Attorneys for Defendants




JOINT RULE 26(f) CONFERENCE REPORT AND LR 16 PROPOSED               LEVI MERRITHEW HORST PC
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